







COURT OF APPEALS









COURT OF APPEALS

EIGHTH DISTRICT OF TEXAS

EL PASO, TEXAS

&nbsp;




 
  
  &nbsp;
  ZONIA LOPEZ
  DE CAMPUZANO,
  &nbsp;
  &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant,
  &nbsp;
  v.
  &nbsp;
  ACCENT
  LANDSCAPING AND SPRINKLERS, INC.,
  &nbsp;
  &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellee.
  
  
  &nbsp;
   '
  &nbsp;
  '
  &nbsp;
  '
  &nbsp;
  '
  &nbsp;
  '
  
  
  &nbsp;
  No. 08-03-00509-CV
  &nbsp;
  Appeal from the
  &nbsp;
  County Court at Law No. Seven
  &nbsp;
  of El Paso County, Texas
  &nbsp;
  (TC#2001-1351)
  
 




&nbsp;

MEMORANDUM
OPINION

Pending before the Court is a joint
motion to dismiss this appeal pursuant to Tex.
R. App. P. 42.1(a).

Both parties have complied with the
requirements of Rule 42.1.&nbsp; The Court has
considered this cause on the joint motion and concludes the motion should be
granted and the appeal should be dismissed.&nbsp;
We therefore dismiss the appeal.

&nbsp;

SUSAN
LARSEN, Justice

March 4, 2004

&nbsp;

Before Panel No. 4

Barajas, C.J., Larsen, and
McClure, JJ.

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